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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF KANSAS


                                JUDGMENT IN A CIVIL CASE




VICKIE S. BROWNING,

               Plaintiff,

v.                                                                            CIVIL NO.
                                                                              09-2183-EFM

ALLIED INTERSTATE, INC.,

               Defendant.




       IT IS ORDERED AND ADJUDGED that pursuant to Plaintiff’s Notice of Acceptance of
Defendant’s Rule 68 Offer of Judgment (Doc. #7), plaintiff Vickie S. Browning to recover of
defendant Allied Interstate, Inc., the sum of One Thousand Dollars ($1,000.00) plus reasonable
attorney’s fees as agreed to by counsel, with interest thereon at the rate of .51% as provided by law.


Dated: June 23, 2009                           TIMOTHY M. O’BRIEN, CLERK


                                               s/ Cindy McKee
                                               CINDY McKEE, Deputy Clerk
